                 Case 2:20-cr-00105-JCC Document 73 Filed 10/02/20 Page 1 of 3




                                                        THE HONORABLE JOHN C. COUGHENOUR
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                                 UNITED STATES DISTRICT COURT
 7
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE

 9   UNITED STATES,                                            CASE NO. CR20-0105-JCC
10                              Plaintiff,                     ORDER
11          v.

12   KENNETH WARRREN RHULE, and
     KENNETH JOHN RHULE,
13
                                Defendants.
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            This matter comes before the Court on the parties’ stipulated motion to continue the trial
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     and pretrial motions deadline (Dkt. No. 68). The current pretrial motions deadline is September
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     17, 2020 and the current trial date is October 5, 2020. (See Dkt. Nos. 46, 47, 63.) Having
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     thoroughly considered the motion and the relevant record, the Court hereby GRANTS the motion
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     for the reasons explained herein.
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            The parties argue a continuance is necessary because the case is complex, the
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     Government has produced over 341,000 pages of discovery to Defendants, and defense counsel
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     need additional time to examine the discovery, confer with their clients, and to effectively
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     prepare pretrial motions and for trial. (See id. at 2–3.) The parties request that the Court strike the
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     trial date and pretrial motions deadline and allow the parties to propose a new case schedule.
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            The Court also, sua sponte, considers the context in which this motion arises. Over the
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     ORDER
     CR20-0105-JCC
     PAGE - 1
                 Case 2:20-cr-00105-JCC Document 73 Filed 10/02/20 Page 2 of 3




 1   past six months, the COVID-19 pandemic has significantly impacted the Court’s operations. (See

 2   General Orders 01-20, 02-20, 07-20, 08-20, 11-20, 13-20, 15-20 each of which the Court

 3   incorporates by reference.) Specifically, the pandemic has rendered the Court unable to obtain an

 4   adequate spectrum of jurors to represent a fair cross section of the community, and public health

 5   guidance has impacted the ability of jurors, witnesses, counsel, and Court staff to be present in

 6   the courtroom. (See generally id.)

 7          Having thoroughly considered the briefing and the relevant record, the Court FINDS that

 8   the ends of justice served by granting a continuance outweigh the best interests of Defendants
 9   and the public to a speedy trial. See 18 U.S.C. § 3161(h)(7)(A). The reasons for this finding are:
10          1. The COVID-19 pandemic has rendered the Court unable to obtain an adequate
11               spectrum of jurors to represent a fair cross section of the community, which would
12               likely make proceeding on the current case schedule impossible or would result in a
13               miscarriage of justice. See 18 U.S.C. § 3161(h)(7)(B)(i).
14          2. Public health guidance has impacted the ability of jurors, witnesses, counsel, and
15               Court staff to be present in the courtroom. Therefore, proceeding with the current trial
16               date would likely be impossible. See 18 U.S.C. § 3161(h)(7)(B)(i).
17          3. Because of the nature of the Government’s allegations, particularly those relating to
18               the Defendants’ alleged use of the dark web and cryptocurrency, this case is so

19               complex that it is unreasonable to expect adequate preparation for pretrial motions

20               and trial within the current deadlines. See 18 U.S.C. § 3161(h)(7)(B)(ii).

21          4. Defendants need additional time to review discovery from the Government.

22               Therefore, the failure to grant a continuance would deny Defendants’ counsel

23               reasonable time necessary for effective preparation. See 18 U.S.C.

24               § 3161(h)(7)(B)(iv).

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     ORDER
     CR20-0105-JCC
     PAGE - 2
              Case 2:20-cr-00105-JCC Document 73 Filed 10/02/20 Page 3 of 3




 1   Accordingly, the Court ORDERS:

 2         1. The October 26, 2020 jury trial is CONTINUED until January 25, 2021.

 3         2. The September 17, 2020 pretrial motions deadline is CONTINUED until November

 4             12, 2020.

 5         3. The period from the date of this order until January 25, 2021 is an excludable time

 6             period under 18 U.S.C. § 3161(h)(7)(A).

 7         4. If the parties object to this trial date, the parties may meet and confer and propose a

 8             new trial date within 14 days of the Court’s order on Defendant Kenneth John
 9             Rhule’s motion to revoke Magistrate Judge Tsuchida’s detention order.
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11         DATED this 2nd day of October 2020.




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                                                         John C. Coughenour
15                                                       UNITED STATES DISTRICT JUDGE
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     ORDER
     CR20-0105-JCC
     PAGE - 3
